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UNITED STATES DISTRICT COURT
DISTRICT OF CONNECTICUT

                                    :
Angel Saez,                         :
                                      Civil Action No.: ______
                                    :
                 Plaintiff,         :
       v.                           :
                                    :
Asset Recovery Associates; and DOES :
                                      COMPLAINT
1-10, inclusive,                    :
                                    :
                                    :
                 Defendants.        :


      For this Complaint, the Plaintiff, Angel Saez, by undersigned counsel,

states as follows:


                                    JURISDICTION

      1.      This action arises out of Defendants’ repeated violations of the Fair

Debt Collection Practices Act, 15 U.S.C. § 1692, et seq. (“FDCPA”), and the

invasions of Plaintiff’s personal privacy by the Defendants and their agents in

their illegal efforts to collect a consumer debt.

      2.      Supplemental jurisdiction exists pursuant to 28 U.S.C. § 1367.

      3.      Venue is proper in this District pursuant to 28 U.S.C. § 1391(b), in

that the Defendants transact business in this District and a substantial portion of

the acts giving rise to this action occurred in this District.


                                       PARTIES

      4.      The Plaintiff, Angel Saez (“Plaintiff”), is an adult individual residing

in New Haven, CT, and is a “consumer” as the term is defined by 15 U.S.C. §

1692a(3).

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      5.      Defendant Asset Recovery Associates (“Asset”), is a Illinois

business entity with an address of PO Box 4009, Schaumburg, Illinois 60168,

operating as a collection agency, and is a “debt collector” as the term is defined

by 15 U.S.C. § 1692a(6).

      6.      Does 1-10 (the “Collectors”) are individual collectors employed by

Asset and whose identities are currently unknown to the Plaintiff. One or more of

the Collectors may be joined as parties once their identities are disclosed

through discovery.

      7.      Asset at all times acted by and through one or more of the

Collectors.


                   ALLEGATIONS APPLICABLE TO ALL COUNTS

   A. The Debt


      8.      The Plaintiff allegedly incurred a financial obligation (the “Debt”) to

an original creditor (the “Creditor”).

      9.      The Debt arose from services provided by the Creditor which were

primarily for family, personal or household purposes and which meets the

definition of a “debt” under 15 U.S.C. § 1692a(5).

      10.     The Debt was purchased, assigned or transferred to Asset for

collection, or Asset was employed by the Creditor to collect the Debt.

      11.     The Defendants attempted to collect the Debt and, as such, engaged

in “communications” as defined in 15 U.S.C. § 1692a(2).




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   B. Asset Engages in Harassment and Abusive Tactics


      12.    The Debt does not belong to Plaintiff.

      13.    Asset placed telephone calls to Plaintiff in an attempt to collect the

Debt, as often as twice (2) a day.

      14.    Asset placed telephone calls to Plaintiff during the weekend in an

attempt to collect the Debt.

      15.    Asset used rude and abusive language when speaking with Plaintiff.

      16.    Asset threatened to take legal action against Plaintiff. No such action

has been taken to date.

      17.    Asset threatened to injure Plaintiff’s credit report.


   C. Plaintiff Suffered Actual Damages


      18.    The Plaintiff has suffered and continues to suffer actual damages as

a result of the Defendants’ unlawful conduct.

      19.    As a direct consequence of the Defendants’ acts, practices and

conduct, the Plaintiff suffered and continues to suffer from humiliation, anger,

anxiety, emotional distress, fear, frustration and embarrassment.

      20.    The Defendants’ conduct was so outrageous in character, and so

extreme in degree, as to go beyond all possible bounds of decency, and to be

regarded as atrocious, and utterly intolerable in a civilized community.


                                      COUNT I

              VIOLATIONS OF THE FDCPA 15 U.S.C. § 1692, et seq.

      21.    The Plaintiff incorporates by reference all of the above paragraphs of

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this Complaint as though fully stated herein.

      22.     The Defendants’ conduct violated 15 U.S.C. § 1692d(2) in that

Defendants used profane and abusive language when speaking with the

consumer.

      23.     The Defendants’ conduct violated 15 U.S.C. § 1692d(5) in that

Defendants caused a phone to ring repeatedly and engaged the Plaintiff in

telephone conversations, with the intent to annoy and harass.

      24.     The Defendants’ conduct violated 15 U.S.C. § 1692e(5) in that

Defendants threatened to take legal action, without actually intending to do so.

      25.     The foregoing acts and omissions of the Defendants constitute

numerous and multiple violations of the FDCPA, including every one of the

above-cited provisions.

      26.     The Plaintiff is entitled to damages as a result of Defendants'

violations.


                                       COUNT II

              INVASION OF PRIVACY BY INTRUSION UPON SECLUSION

      27.     The Plaintiff incorporates by reference all of the above paragraphs of

this Complaint as though fully stated herein.

      28.     The Restatement of Torts, Second, § 652(b) defines intrusion upon

seclusion as, “One who intentionally intrudes…upon the solitude or seclusion of

another, or his private affairs or concerns, is subject to liability to the other for

invasion of privacy, if the intrusion would be highly offensive to a reasonable

person.”


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      29.    Connecticut further recognizes the Plaintiff’s right to be free from

invasions of privacy, thus the Defendants violated Connecticut state law.

      30.    The Defendants intentionally intruded upon Plaintiff’s right to privacy

by continually harassing the Plaintiff with excessive phone calls and by

threatening to take legal action without intending to do so.

      31.    The telephone calls made by the Defendants to the Plaintiffs were so

persistent and repeated with such frequency as to be considered, “hounding the

plaintiff,” and, “a substantial burden to her existence,” thus satisfying the

Restatement of Torts, Second, § 652(b) requirement for an invasion of privacy.

      32.    The conduct of the Defendants in engaging in the illegal collection

activities resulted in multiple invasions of privacy in such a way as would be

considered highly offensive to a reasonable person.

      33.    As a result of the intrusions and invasions, the Plaintiff is entitled to

actual damages in an amount to be determined at trial from the Defendants.

      34.    All acts of the Defendants and its agents were committed with

malice, intent, wantonness, and recklessness, and as such, the Defendants is

subject to punitive damages.


                                      COUNT III

     VIOLATIONS OF THE CONNECTICUT UNFAIR TRADE PRACTICES ACT,
                    Conn. Gen. Stat. § 42-110a, et seq.

      35.    The Plaintiff incorporates by reference all of the above paragraphs of

this Complaint as though fully stated herein.

      36.    The Defendants are each individually a “person” as defined by Conn.

Gen. Stat. § 42-110a(3).

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      37.     The Defendants engaged in unfair and deceptive acts and practices

in the conduct of its trade, in violation of Conn. Gen. Stat. § 42-110b(a).

      38.     The Plaintiff is entitled to damages as a result of the Defendants’

violations.


                                      COUNT IV

       VIOLATIONS OF THE TELEPHONE CONSUMER PROTECTION ACT –
                          47 U.S.C. § 227, et seq.

      39.     The Plaintiff incorporates by reference all of the above paragraphs of

this Complaint as though fully stated herein.

      40.     Without prior consent the Defendants made telephone calls to the

Plaintiff’s residential telephone line using an artificial or prerecorded voice to

deliver a message without the prior express consent of the Plaintiff in violation

of 47 U.S.C. § 227(b)(1)(B).

      41.     The foregoing acts and omissions of the Defendants constitute

numerous and multiple violations of the Telephone Consumer Protection Act,

including every one of the above-cited provisions.

      42.     The Plaintiff is entitled to damages as a result of the Defendants’

violations.


                                      COUNT V

               INTENTIONAL INFLICTION OF EMOTIONAL DISTRESS

      43.     The Plaintiff incorporates by reference all of the above paragraphs of

this Complaint as though fully set forth herein at length.

      44.     The acts, practices and conduct engaged in by the Defendants vis-à-


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vis the Plaintiff was so outrageous in character, and so extreme in degree, as to

go beyond all possible bounds of decency, and to be regarded as atrocious, and

utterly intolerable in a civilized community.

      45.    The foregoing conduct constitutes the tort of intentional infliction of

emotional distress under the laws of the State of Connecticut.

      46.    All acts of the Defendants and the Collectors complained of herein

were committed with malice, intent, wantonness, and recklessness, and as such,

the Defendants are subject to imposition of punitive damages.


                                     COUNT VI

                              COMMON LAW FRAUD

      47.    The Plaintiff incorporates by reference all of the above paragraphs of

this Complaint as though fully stated herein.

      48.    The acts, practices and conduct engaged in by the Defendants and

complained of herein constitute fraud under the Common Law of the State of

Connecticut.

      49.    The Plaintiff has suffered and continues to suffer actual damages as

a result of the foregoing acts and practices, including damages associated with,

among other things, humiliation, anger, anxiety, emotional distress, fear,

frustration and embarrassment caused by the Defendants. All acts of the

Defendants and the Collectors complained of herein were committed with malice,

intent, wantonness, and recklessness, and as such, the Defendants are subject to

punitive damages.




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                             PRAYER FOR RELIEF

     WHEREFORE, the Plaintiff prays that judgment be entered against the

Defendants:

              1. Actual damages pursuant to 15 U.S.C. § 1692k(a)(1) against the

                 Defendants;

              2. Statutory damages of $1,000.00 pursuant to 15 U.S.C.

                 §1692k(a)(2)(A) against the Defendants;

              3. Costs of litigation and reasonable attorney’s fees pursuant to 15

                 U.S.C. § 1692k(a)(3) against the Defendants;

              4. Actual damages pursuant to Conn. Gen. Stat. § 42-110g;

              5. Statutory damages pursuant to 47 U.S.C. § 227(b)(3)(B) & (C);

              6. Actual damages from the Defendants for the all damages

                 including emotional distress suffered as a result of the

                 intentional, reckless, and/or negligent FDCPA violations and

                 intentional, reckless, and/or negligent invasions of privacy in an

                 amount to be determined at trial for the Plaintiff;

              7. Punitive damages; and

              8. Such other and further relief as may be just and proper.




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                  TRIAL BY JURY DEMANDED ON ALL COUNTS


Dated: August 5, 2010

                                   Respectfully submitted,

                                   By /s/ Sergei Lemberg

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